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 4                                  UNITED STATES DISTRICT COURT

 5                                 NORTHERN DISTRICT OF CALIFORNIA

 6
      SAMUEL LOVE,
 7                                                        Case No. 19-cv-06786-SI (SI)
                     Plaintiffs,
 8
              v.                                          ORDER OF DISMISSAL UPON
 9                                                        SETTLEMENT
      FR3SH, INC.,
10
                     Defendants.
11

12

13           The parties to the action, by their counsel, have advised the court that they have agreed to

14   a settlement.

15                   IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE.

16   However, that if any party hereto certifies to this court, with proof of service of a copy thereon on

17   opposing counsel, within ninety days from the date hereof, that settlement has not in fact occurred,

18   the foregoing order shall be vacated and this cause shall forthwith be restored to the calendar for

19   further proceedings.

20          IT IS SO ORDERED.

21   Dated: July 30, 2020

22                                                    ______________________________________
                                                      SUSAN ILLSTON
23                                                    United States District Judge
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